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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No, 21-cv-00796-MEH
UNITED STATES OF AMERICA,

Plaintiff,

1. 121 ASH ROAD, BASALT, COLORADO,
2. APPROXIMATELY $77,888,782.61 HELD AND FROZEN IN MIRABAUD BANK

ACCOUNT #509951,

Defendants.

 

ORDER FOR WARRANT FOR ARREST OF PROPERTY IN REM

 

THIS MATTER comes before the Court on the United States’ Verified Complaint
for Forfeiture In Rem, and the Court being fully apprised, FINDS that the Court has
jurisdiction over the following defendant asset, that there is probable cause to believe
the defendant asset is subject to forfeiture, and that a Warrant for Arrest of the following
defendant assets should enter:

Approximately $77,888,782.61 held and frozen in Mirabaud Bank Account
#509951

IT IS THEREFORE ORDERED that the Clerk of the Court shall enter a Warrant
for Arrest of Property In Rem and that the United States Marshals Service and/or any
other duly authorized law enforcement officer is directed to arrest and seize the above-
referenced defendant assets as soon as practicable, and to use whatever means may

be appropriate to protect and maintain it in your custody until further order of this Court.

 

 
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IT IS FURTHER ORDERED that the United States shall post notice on an official
internet government site for at least 30 consecutive days, stating that all persons
claiming or asserting an interest in the defendant assets must file a Claim and an
Answer to the Complaint with the Court, and serve copies of same to the Assistant

United States Attorney, to the addresses listed below:

Clerk of the United States District Court Tonya. S. Andrews
901 19" Street Assistant United States Attorney
‘Denver, Colorado 80294 United States Attorney’s Office

1801 California St., Suite 1600
Denver, Colorado 80202

SO ORDERED this 26th day of April, 2021.

BY THE COURT:

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Michael E. Hegarty
United States Magistrate ide
